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 United States of America
 Small Business Administration


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

 In re:

 HIGH PLAINS RADIO NETWORK, LLC,                      CASE NO. 24-70089-SWE-11
                                                      CHAPTER 11
                     Debtor.


                       AMENDED NOTICE OF APPEARANCE OF SBA
                        AND REQUEST FOR SERVICE OF PAPERS

          Please take notice that the undersigned counsel is appearing for the following

 governmental unit in the above-styled and numbered bankruptcy case: United States of America

 on behalf of the Small Business Administration (SBA). The SBA is an interested party.

          Pursuant to Bankruptcy Rules that include 2002, 3017(a), and 9010(b) and N.D. Tex.

 L.B.R. 2002-1(j) all notices given or required to be given to the SBA and all papers served or

 required to be served on this agency in this case are requested to be served on the undersigned

 counsel.

          This appearance is on behalf of the agency or instrumentality identified above only, and

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 neither extends to nor constitutes an appearance by any other agency, instrumentality, branch, or

 subdivision of the United States of America, and, further, this Appearance does not constitute a

 waiver of the requirements of proper and full service on such other agency, instrumentality,

 branch, or subdivision of the United States of America.

        DATED April 4, 2024.
                                                 Respectfully submitted,

                                                 LEIGHA SIMONTON
                                                 UNITED STATES ATTORNEY



                                                  /s/ Dawn Whalen Theiss
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                                          Certificate of Service

        On April 4, 2024, I electronically submitted the foregoing document with the clerk of

 court for the U.S. Bankruptcy Court, Northern District of Texas, using the electronic case filing

 system of the court. I hereby certify that I have served all parties electronically or by another

 manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                  /s/ Dawn Whalen Theiss
                                                 Dawn Whalen Theiss
                                                 Assistant United States Attorney




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